     Case 2:20-cr-00057-FMO Document 33 Filed 01/05/21 Page 1 of 6 Page ID #:453



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8                                        UNITED STATES DISTRICT COURT
9                                   CENTRAL DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA                      )   Case No. CR 20-0057 FMO
                                                   )
12                          Plaintiff,             )
                                                   )
13                   v.                            )   ORDER RE: MOTION TO DISMISS
                                                   )
14   JOSE ALBERTO MEDINA ZEPEDA,                   )
                                                   )
15                          Defendant.             )
                                                   )
16

17            Jose Alberto Medina Zepeda (“defendant”) is charged with illegal reentry in violation of 8
18   U.S.C. §§ 1326(a), (b)(2). (See Dkt. 1, Indictment). Defendant filed the instant Motion to Dismiss
19   (Dkt. 25, “Motion”), arguing that 8 U.S.C. § 1326 is unconstitutional and, therefore, the single-
20   count indictment should be dismissed.1 (See id. at 2). Having reviewed and considered all the
21   briefing filed with respect to defendant’s Motion, the court finds that oral argument is not necessary
22   to resolve the Motion, and concludes as follows.
23            Defendant contends that § 1326 violates the Equal Protection Clause because, although
24   it is facially neutral, it “was enacted with a discriminatory purpose and still has a disparate
25   impact[.]” (Dkt. 25, Motion at 2) (citing Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429
26   U.S. 252, 97 S.Ct. 555 (1977) (“Arlington Heights”)). According to defendant, an Arlington Heights
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            Unless otherwise indicated, all statutory references are to Title 8 of the United States Code.
     Case 2:20-cr-00057-FMO Document 33 Filed 01/05/21 Page 2 of 6 Page ID #:454



1    analysis applies here and demonstrates that § 1326's enactment was “motivated by a racial

2    purpose or object[,]” and therefore, the court should apply strict scrutiny to the review of the

3    statute’s constitutionality. (See Dkt. 25, Motion at 5 n. 7) (citing Hunt v. Cromartie, 526 U.S. 541,

4    546, 119 S.Ct. 1545, 1549 (1999) (“A facially neutral law, on the other hand, warrants strict
5    scrutiny only if it can be proved that the law was ‘motivated by a racial purpose or object[.]’”)). The
6    government responds that rational-basis review is the proper standard because of Congress’s
7    plenary power over immigration policy. (Dkt. 30, Government’s Opposition to Defendant’s Motion
8    to Dismiss (“Opp.”) at 5-7) (citing United States v. Hernandez-Guerrero, 147 F.3d 1075 (9th Cir.
9    1998)). The government contends that § 1326 is “well within the ambit of Congress’s sweeping
10   power over immigration matters[,]” (Dkt. 30, Opp. at 9) (quoting Hernandez-Guerrero, 147 F.3d
11   at 1078), thus mandating rational-basis review of the statute. (See Dkt. 30, Opp. at 9).
12          In Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S.Ct. 1891 (2020) (“DHS”),
13   the Supreme Court applied an Arlington Heights analysis to a challenge to the government’s
14   decision to end the Deferred Action for Childhood Arrivals program. See id. at 1915-16 (plurality
15   opinion). In Ramos v. Wolf, 975 F.3d 872 (9th Cir. 2020), the Ninth Circuit examined the plurality’s
16   choice of review standard in DHS in dealing with an Equal Protection challenge – brought in part
17   by alien plaintiffs – to the Department of Homeland Security’s decision to end the Temporary
18   Protected Status program that “provides temporary relief to nationals of designated foreign
19   countries that have been stricken by a natural disaster, armed conflict, or other extraordinary and
20   temporary conditions in the foreign state.” Id. at 878 (internal quotation marks omitted). The Ninth
21   Circuit rejected the argument that the rational-basis standard applied to plaintiffs’ Equal Protection
22   challenge, noting that the Supreme Court has recognized that “[t]he distinction between an alien
23   who has effected an entry into the United States and one who has never entered runs throughout
24   immigration law.” Id. at 896 (quoting Zadvydas v. Davis, 533 U.S. 678, 693, 121 S.Ct. 2491, 2500
25   (2001)) (internal quotation marks omitted).       “[O]nce an alien enters the country, the legal
26   circumstance changes, for the Due Process Clause applies to all ‘persons’ within the United
27   States, including aliens, whether their presence here is lawful, unlawful, temporary, or permanent.”
28   Zadvydas, 533 U.S. at 693, 121 S.Ct. at 2500. Indeed,“the entry fiction does not preclude non-

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     Case 2:20-cr-00057-FMO Document 33 Filed 01/05/21 Page 3 of 6 Page ID #:455



1    admitted aliens such as [defendant] from coming within the ambit of the equal protection

2    component of the Due Process Clause.” Kwai Fun Wong v. United States, 373 F.3d 952, 974 (9th

3    Cir. 2004); see Padilla v. Immigration and Customs Enft., 953 F.3d 1134, 1146-47 (9th Cir. 2020)
4    (same); California v. U.S. Dep’t of Homeland Sec., 2020 WL 4440668, *18 (N.D. Cal. 2020) (“If
5    Kwai Fun Wong establishes that non-admitted, but physically present aliens can bring an Equal
6    Protection challenge, then it follows that admitted aliens . . . may also bring an Equal Protection
7    challenge.”).
8           Because § 1326 applies to “aliens who are already in the United States, [the government]
9    cannot entirely rely on the plenary power doctrine to uphold the [statute].” California, 2020 WL
10   4440668, at *17. Here, the nature of defendant’s Equal Protection claim and his presence within
11   the United States weigh in favor of applying an Arlington Heights standard to his challenge. See,
12   e.g., DHS, 140 S.Ct. at 1915-16 (plurality opinion) (applying Arlington Heights standard to Equal
13   Protection challenge against an immigration policy); Ramos, 975 F.3d at 895-97 (same);
14   California, 2020 WL 4440668, at *19-20 (same).
15          Under Arlington Heights, “[p]roof of racially discriminatory intent or purpose is required to
16   show a violation of the Equal Protection Clause.” 429 U.S. at 265, 97 S.Ct. at 563. A party
17   asserting an equal protection claim must show that racial discrimination was at least “a motivating
18   factor” for the action being challenged. Id. at 265-66, 97 S.Ct. at 563-64. “Determining whether
19   invidious discriminatory purpose was a motivating factor demands a sensitive inquiry into such
20   circumstantial and direct evidence of intent as may be available.” Id. at 266, 97 S.Ct. at 564. This
21   analysis involves inquiry into factors such as the “impact of the official action[,]” id., the “historical
22   background of the decision[,]” id. at 267, 97 S.Ct. at 564, the “specific sequence of events leading
23   up to the challenged decision[,]” id., “[d]epartures from the normal procedural [or substantive]
24   sequence[,]” id., and the “legislative or administrative history[.]” Id. at 268, 97 S.Ct. at 565. A
25   facially neutral law, such as the statute at issue here, “warrants strict scrutiny only if it can be
26   proved that the law was ‘motivated by a racial purpose or object[.]’” Hunt, 526 U.S. at 546, 119
27   S.Ct. at 1549; California, 2020 WL 4440668, at *19 (“[I]f plaintiffs are able to demonstrate racial
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     Case 2:20-cr-00057-FMO Document 33 Filed 01/05/21 Page 4 of 6 Page ID #:456



1    or ethnic discriminatory purpose to be a motivating factor of the [statute], then the court would

2    apply a strict scrutiny standard of review.”).

3           Defendant argues that “the original illegal reentry law was enacted with a discriminatory

4    purpose and still has a disparate impact[.]” (Dkt. 25, Motion at 2). Defendant, relying on the

5    Supreme Court’s recent decisions in Ramos v. Louisiana, 140 S.Ct. 1390 (2020) (“Louisiana”) and

6    Espinoza v. Mont. Dep’t of Revenue, 140 S.Ct. 2246 (2020) (“Espinoza”), contends that “when a
7    court determines that a law’s original enactment was motivated by a desire to discriminate . . . on
8    account of race and the section continues to this day to have that effect, the court must conclude
9    that the law violates equal protection under Arlington Heights.” (Dkt. 25, Motion at 19) (internal
10   quotation marks omitted); (see id. at 17-19). According to defendant, a detailed analysis of the
11   historical background of the Undesirable Aliens Act of 1929 reveals that “racism and eugenics”
12   were a motivating factor in the passage of that law. (See id. at 6-17). Defendant’s contentions
13   are unpersuasive.
14          In Louisiana, the issue was whether “the Sixth Amendment right to a jury trial . . . require[d]
15   a unanimous verdict to convict a defendant of a serious offense.” Louisiana, 140 S.Ct. at 1394
16   (footnote omitted). Although the Supreme Court noted the “racist origins” of the Louisiana and
17   Oregon statutes at issue, the Court’s reasoning primarily rested on an examination of common law
18   rights to a unanimous jury verdict, i.e., “the historical meaning of the Sixth Amendment’s jury trial
19   right, [and] th[e] Court’s long-repeated statements that [the Sixth Amendment] demands
20   unanimity[.]” See id. at 1399-1402, 1405. The Supreme Court emphasized that the Sixth
21   Amendment required “judges to assess the functional benefits of jury rules[,]” and this necessarily
22   entailed “acknowledging the racist history of Louisiana’s and Oregon’s laws[.]” Id. at 1401 n. 44.
23   Nevertheless, “a jurisdiction adopting a nonunanimous jury rule even for benign reasons would
24   still violate the Sixth Amendment.” Id.
25          In Espinoza, the Supreme Court examined “whether the Free Exercise Clause . . . barred”
26   application of the Montana State Constitution’s “no-aid” provision which prohibited the use of
27   tuition assistance provided by the state when used toward religious schools. See 140 S.Ct. at
28   2251. Defendant asserts that the “majority relied on the law’s ‘checkered tradition’ of underlying

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     Case 2:20-cr-00057-FMO Document 33 Filed 01/05/21 Page 5 of 6 Page ID #:457



1    religious discrimination, even though it was reenacted in the 1970s ‘for reasons unrelated to anti-

2    Catholic bigotry.’” (Dkt. 25, Motion at 18) (quoting Espinoza, 140 S.Ct. at 2259). However, the

3    Espinoza Court did not rely on the Montana provision’s “checkered tradition” as the basis for its
4    decision. Rather, the Court invalidated the no-aid provision because it “bars all aid to a religious
5    school simply because of what it is, putting the school to a choice between being religious or
6    receiving government benefits.” Id. at 2257 (internal quotation marks omitted). In addressing the
7    Montana Department of Revenue’s argument that the State’s no-aid provision was supported by
8    “a tradition against state support for religious schools [that] arose in the second half of the 19th
9    century,” the Court stated that “[t]he no-aid provisions of the 19th century hardly evince a tradition
10   that should inform [the Court’s] understanding of the Free Exercise Clause.” Id. at 2258-59.
11          In short, the court is unpersuaded that Louisiana and Espinoza support defendant's
12   contention that § 1326 should be judged according to legislative history from laws enacted
13   decades earlier, and that “later reenactments do not cleanse the law of its original taint.” (Dkt. 25,
14   Motion at 18-19). Courts examining constitutional challenges to § 1325, a statute that also
15   criminalizes unauthorized entry into the United States, have rejected arguments that rely “entirely
16   on legislative history from the 1920s, decades before § 1325[] was enacted” and ignore later
17   enactments of the actual statute at issue. See, e.g., United States v. Lucas-Hernandez, 2020 WL
18   6161150, *2-*3 (S.D. Cal. 2020) (rejecting identical interpretations of Louisiana and Espinoza
19   where defendant ignored subsequent enactments of pertinent statute); United States v. Lazcano-
20   Neria, 2020 WL 6363685, *7-*8 (S.D. Cal. 2020) (same).
21          Although § 1326 was first enacted in 1952, as part of the Immigration and Nationality Act
22   (“INA”), see Pub. L. No. 82-414, 66 Stat. 229 at § 276, and is thus the relevant statutory
23   framework here, defendant attempts to tie the legislative history of the 1920s to the INA’s 1952
24   passage. (See Dkt. 31, Reply [ ] at 7-10). Defendant provides no authority or basis for the court
25   to evaluate the 1952 statute solely on the basis of the legislative history relating to the Undesirable
26   Aliens Act of 1929. (See, generally, Dkt. 25, Motion); (Dkt. 31, Reply [ ]). Further, with respect
27   to the passage of the operative statute in 1952, defendant fails to provide any specific evidence
28   establishing that an “invidious discriminatory purpose was a motivating factor” in its enactment.

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     Case 2:20-cr-00057-FMO Document 33 Filed 01/05/21 Page 6 of 6 Page ID #:458



1    (See, generally, id.); see, e.g., United States v. Rios-Montano, 2020 WL 7226441, *5-*6 (S.D. Cal.

2    2020) (defendant “failed to provide any legislative history or other evidence suggestive of the

3    motives of the [relevant] Congress” where he relied solely on the “lack of Congressional disavowal

4    of the discriminatory purposes of the previous version” of a statute). In short, defendant has failed

5    to put forth sufficient evidence establishing that racial discrimination was a motivating factor in the

6    enactment of § 1326, and his Equal Protection challenge is accordingly denied.2 See Arlington

7    Heights, 429 U.S. at 270-71, 97 S.Ct. at 566 (“Respondents simply failed to carry their burden of
8    proving that discriminatory purpose was a motivating factor[.] This conclusion ends the
9    constitutional inquiry.”); see, e.g., Rios-Montano, 2020 WL 7226441, at *8 (denying similar
10   constitutional challenge to § 1325 once defendant failed to meet “his burden of showing that
11   Congress acted with a racially discriminatory motive” under Arlington Heights).
12          This Order is not intended for publication. Nor is it intended to be included in or
13   submitted to any online service such as Westlaw or Lexis.
14                                              CONCLUSION
15          Based on the foregoing, IT IS ORDERED THAT defendant’s Motion to Dismiss (Document
16   No. 25) is denied.
17   Dated this 5th day of January, 2021.
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19                                                                           /s/
                                                                    Fernando M. Olguin
20                                                               United States District Judge
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26         In light of the court’s conclusion, it is unnecessary to address defendant’s disproportionate
     impact argument. Cf. Washington v. Davis, 426 U.S. 229, 242, 96 S.Ct. 2040, 2049 (1976)
27   (“Disproportionate impact is not irrelevant, but it is not the sole touchstone of an invidious
     discrimination forbidden by the Constitution. Standing alone, it does not trigger the rule that racial
28   classifications are to be subjected to the strictest scrutiny[.]”) (citation omitted)

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